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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 MELANIE ANN RAEB,

 Plaintiff,                                           Case No. 1:17-cv-00168-WCL-SLC

 v.                                                   Honorable Judge William C. Lee

 R1 RCM, INC. d/b/a MEDICAL
 FINANCIAL SOLUTIONS,

 Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES the Plaintiff, MELANIE ANN RAEB (“Plaintiff”), by and through her

attorneys, SULAIMAN LAW GROUP, LTD., and, in support of her Notice of Voluntary

Dismissal with Prejudice, state as follows:

        Plaintiff, pursuant to settlement and Federal Rule of Civil Procedure 41(a)(1)(A)(i),

hereby voluntarily dismisses his claims against the Defendant, R1 RCM, INC. d/b/a MEDICAL

FINANCIAL SOLUTIONS., with prejudice. Each party shall bear its own costs and attorney fees.

Dated: June 8, 2017

                                                     Respectfully Submitted,

                                                     /s/ Nathan C. Volheim
                                                     Nathan C. Volheim, Esq. #6302103
                                                     Counsel for Plaintiff
                                                     Admitted in the Northern District of Indiana
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